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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  BIAO WANG,                                         Case No. 21-cv-06028-VC
                 Plaintiff,
                                                     ORDER GRANTING MOTION TO
          v.                                         CERTIFY CLASS
  ZYMERGEN INC., et al.,                             Re: Dkt. No. 180
                 Defendants.



       The unopposed motion to certify the class, appoint the class representative, and appoint

class counsel is granted. As the motion defines it, the certified class consists of persons and

entities that purchased or otherwise acquired Zymergen Inc. common stock pursuant and/or

traceable to the registration statement and prospectus issued in connection with Zymergen’s

April 2021 initial public offering. See Dkt. No. 180 at 6–7.

       IT IS SO ORDERED.

Dated: August 11, 2023
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
